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                                      UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF PUERTO RICO

      -------------------------------------------------------------x
      In re:                                                           PROMESA
                                                                       Title III
      THE FINANCIAL OVERSIGHT AND
      MANAGEMENT BOARD FOR PUERTO RICO,
                                                                       No. 17 BK 3283-LTS
               as representative of
                                                                       (Jointly Administered)
      THE COMMONWEALTH OF PUERTO RICO, et al.

                                        Debtors. 1
      -------------------------------------------------------------x
                                          CERTIFICATE OF SERVICE

           I, Asir U. Ashraf, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
  the solicitation, claims and noticing agent for the Debtors in the above-captioned cases under Title
  III of the Puerto Rico Oversight, Management, and Economic Stability Act (PROMESA).

           On February 5, 2020, at my direction and under my supervision, employees of Prime Clerk
  caused a customized request for additional claim information, in the form of the AP Claimants
  letters attached hereto as Exhibit A to be served via first class mail Francesca Martínez Madrigal
  (MMLID: 9213388), at an address that has been redacted in the interest of privacy.

         On February 5, 2020, at my direction and under my supervision, employees of Prime Clerk
  caused a customized request for additional claim information, in the form of letters attached hereto
  as Exhibit B to be served via first class mail on the Notice Parties Service List attached hereto as
  Exhibit C.




  1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and
  the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal
  Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No.
  17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and
  Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of
  Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth
  of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID:
  9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-
  LTS) (Last Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority
  (“PBA”) (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801)
  (Title III case numbers are listed as Bankruptcy Case numbers due to software limitations).
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  Dated: February 10, 2020


  State ofNew York
  County ofNew York

  Subscribed and sworn to (or affirmed) before me February 10, 2020, by Asir U. Ashraf, proved
  to me on the basi   at�sfaft     evidence to be the person who appeared before me.

  Signature: ____.:;.==1,---LJ"-------''t'Y--"-"---14----



               JAME .A.. MAPPLETHORPE
              Notary Public, State of New York
                         No. 01 MA6370846
                Qualified in New York County
             C'OtnlllfSSIOll Expire� r-ebruary 12. 2022




                                                            2
                                                                                     SRF 39606
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                                    Exhibit A
       Case:17-03283-LTS Doc#:10790 Filed:02/10/20 Entered:02/10/20 17:55:15                     Desc: Main
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Responda a esta carta el 6 de Enero de 2020 o antes, devolviendo el cuestionario adjunto con la información y
documentación solicitada.

Tenga en cuenta que solo necesita devolver un formulario, ya sea en inglés o español.

Si tiene alguna pregunta acerca de esta carta o su reclamación, llame al Prime Clerk LLC al (844) 822-9231
(llamadas sin cargo desde Estados Unidos y Puerto Rico) o (646) 486-7944 (para llamadas internacionales),
disponible de 10:00 a.m. a 7:00 p.m. (Hora Estándar del Atlántico) (español disponible), o dirección de correo
electrónico PRClaimsInfo@primeclerk.com.

Please respond to this letter on or before January 6, 2020 by returning the enclosed questionnaire with the
requested information and documentation.

Note, you only need to return one form, either in English or Spanish.

If you have any questions about this letter or your claim, please call: Prime Clerk LLC at (844) 822-9231 (toll free
for U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available 10:00 a.m. to 7:00 p.m. (Atlantic
Standard Time) (Spanish available), or email PRClaimsInfo@primeclerk.com.
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                              Document
          Commonwealth of Puerto             Page 6Information
                                 Rico Supplemental    of 34    Processing Center
                                850 3rd Avenue, Suite 412
                                  Brooklyn, NY 11232
                                   T: (844) 822-9231
                            PRClaimsInfo@primeclerk.com

                                    *** Response Required ***


  THIS LETTER RELATES TO A PROOF OF CLAIM YOU FILED AGAINST THE
  GOVERNMENT OF PUERTO RICO IN ITS PROCEEDINGS UNDER THE PUERTO
  RICO OVERSIGHT, MANAGEMENT, AND ECONOMIC STABILITY ACT.

  PLEASE READ THIS LETTER CAREFULLY AND RESPOND IN ACCORDANCE
  WITH THE INSTRUCTIONS BELOW. FAILURE TO RESPOND MAY RESULT IN THE
  DEBTORS TAKING LEGAL ACTION TO FULLY OR PARTIALLY DISALLOW YOUR
  CLAIM.


  December 6, 2019

  Re:     PROMESA Proof of Claim
          In re Commonwealth of Puerto Rico, Case No. 17-03283
          United States District Court for the District of Puerto Rico

  Dear Sir or Madam:

  This letter relates to a proof of claim you filed in the Title III cases (the “Title III Cases”) against the
  Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation Authority, or Employees
  Retirement System of the Government of the Commonwealth of Puerto Rico (collectively, the “Debtors).
  Prime Clerk LLC, maintains the official claims register in the Title III Cases for the United States
  District Court in the District of Puerto Rico (the “Court”), and is reaching out to you on behalf of
  the Debtors.

  The Debtors’ records reflect that you filed a proof of claim that was logged by Prime Clerk LLC
  as Proof of Claim Number             . You may download a copy of your claim by visiting Prime
  Clerk’s website at: https://cases.primeclerk.com/puertorico/Home-ClaimInfo.

  Additional information is required in order for the Debtors to continue with assessing your
  claim. The Debtors are unable to determine from the information you provided the basis,
  nature, or amount for the claim you are attempting to assert against one or more of the Debtors.
  In responding to this letter, please ensure that you provide all of the information requested and as
  much detail as possible about your claim. The descriptions you put on your proof of claim were
  too vague for the Debtors to understand the claim you are trying to assert, so please provide more
  detail and do not simply copy over the same information.

  Please respond to this letter on or before January 6, 2020 by returning the enclosed
  questionnaire with the requested information and documentation.
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  Please send the completed form and any supporting documents via email to
  PRClaimsInfo@primeclerk.com, or by mail, hand delivery, or overnight mail to the following
  address:

            Commonwealth of Puerto Rico Supplemental Information Processing Center
                                    c/o Prime Clerk, LLC
                                 850 3rd Avenue, Suite 412
                                    Brooklyn, NY 11232

  All supplemental information that you provide will be appended to your claim and appear on the
  official claims register. If you do not respond to this request and do not provide the requested
  information and documentation in support of your claim, the Debtors may be forced to object to
  your claim.

  If you have any questions about this letter or your claim, please call: Prime Clerk LLC at
  (844) 822-9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for international
  callers), available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available), or
  email PRClaimsInfo@primeclerk.com.

  PLEASE NOTE: Prime Clerk, LLC is the claims and noticing agent in the Title III Cases, and
  cannot provide legal or financial advice.

  Thank you,

  Prime Clerk, LLC




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  Proof of Claim:          Document Page 8 of 34
  Claimant:

            INFORMATION REQUESTED TO PROCESS YOUR CLAIM
  Instructions
  Please answer all six (6) questions and any applicable sub-questions. Please include as much detail
  as possible in your responses. Your answers should provide more information than the initial
  proof of claim. For example, if you previously wrote as the basis for your claim “Ley 96,” please
  elaborate as to the specific laws on which you are purporting to rely, the year the law at issue was
  enacted, and how and why you believe such particular law provides a basis for your claim.
  Additionally, if available and applicable to your claim, please provide:
          A copy of any contract, purchase order, invoice, bill of lading, and/or proof of delivery,
           if your claim is based on an unpaid invoice;
          A copy of a pleading, such as a Complaint or an Answer, if your claim is based on pending
           litigation;
          A copy of any unpaid judgment, if obtained in connection with litigation, or settlement
           agreement;
          A copy of any written notice of intent to file a claim with proof of mailing;
          Any and all documentation you believe supports your claim.

  Please send the completed form and any supporting documents via email                            to
  PRClaimsInfo@primeclerk.com, or by mail or hand delivery to the following address:
           Commonwealth of Puerto Rico Supplemental Information Processing Center
                                   c/o Prime Clerk, LLC
                               850 Third Avenue, Suite 412
                                   Brooklyn, NY 11232
  Questionnaire
  1. What is the basis of your claim?
       □    An unpaid invoice you issued to the Puerto Rican government
       □    A pending or closed legal action with or against the Puerto Rican government
       □    Current or former employment with the Government of Puerto Rico
       □    Other (Provide as much detail as possible below. Attach additional pages if needed.)


 2. What is the amount of your claim (how much money do you claim to be owed):


  3. Unpaid Invoice. Does your claim relate to an unpaid invoice you issued to the Puerto
     Rican government?

     □     No. Please continue to Question 4.
     □     Yes. Answer Questions 3(a)-3(f).
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  Proof of Claim:
  Claimant:
  3(a). Identify the specific agency or department that you entered into a contract with:


  3(b). Vendor Number (if applicable):

  3(c). Tax Identification Number (if applicable):

  3(d). If you do not have a Vendor Number or Tax Identification Number, list the last four digits
        of your social security number:

  3(e). Contract Number (if applicable):

  3(f). Purchase Order Number(s) (if applicable):

  4. Employment. Does your claim relate to current or former employment with
     the Government of Puerto Rico?

     □       No. Please continue to Question 5.
     □       Yes. Answer Questions 4(a)-(d).

 4(a). Identify the specific agency or department where you were or are employed:


 4(b). Identify the dates of your employment related to your claim:


  4(c). Last four digits of your social security number:

 4(d). What is the nature of your employment claims (select all applicable):
         □     Pension
         □     Unpaid Wages
         □     Sick Days
         □     Union Grievance
         □     Vacation
         □     Other (Provide as much detail as possible. Attach additional pages if necessary).




 5. Legal Action. Does your claim relate to a pending or closed legal action?
     □       No. Please continue to Question 6.
     □       Yes. Answer Questions 5(a)-(f).


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  Proof of Claim:
  Claimant:
  5(a). Identify the department or agency that is a party to the action.


  5(b). Identify the name and address of the court or agency where the action is pending:


  5(c). Case number:
  5(d). Title, Caption, or Name of Case:
  5(e). Status of the case (pending, on appeal, or concluded):
  5(f). Do you have an unpaid judgment? Yes / No (Circle one)
       If yes, what is the date and amount of the judgment?

  6. Other. If your claim does not relate to an unpaid invoice, a pending or closed legal
     action, or current of former employment, please answer Question 6(a).
  6(a). Please describe the basis for your claim:



     To the extent you have any documentation in support of your claim, please include those
     documents in your response.




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                                         Prime Clerk
                                  Document      PageLLC
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  Centro de procesamiento de información complementaria del Estado Libre Asociado de Puerto Rico
                                    850 3rd Avenue, Suite 412
                                       Brooklyn, NY 11232
                                       Tel.: (844) 822-9231
                                  PRClaimsInfo@primeclerk.com


                                  *** Se requiere respuesta ***


  ESTA CARTA SE RELACIONA CON UNA EVIDENCIA DE RECLAMACIÓN QUE
  RADICÓ CONTRA EL GOBIERNO DE PUERTO RICO EN LOS PROCEDIMIENTOS AL
  AMPARO DE LA LEY DE SUPERVISIÓN, ADMINISTRACIÓN Y ESTABILIDAD
  ECONÓMICA DE PUERTO RICO.

  LEA ESTA CARTA CUIDADOSAMENTE Y RESPONDA SEGÚN LAS INSTRUCCIONES
  QUE SE INDICAN A CONTINUACIÓN. SI USTED NO RESPONDE, LOS DEUDORES
  PODRÁN TOMAR MEDIDAS LEGALES PARA QUE SU RECLAMACIÓN SEA TOTAL O
  PARCIALMENTE DESESTIMADA.


  6 de diciembre de 2019

  Asunto:      Evidencia de reclamación en virtud de la ley PROMESA
        En el caso Estado Libre Asociado de Puerto Rico, Caso No. 17-03283
        Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico

  Estimado/a:

  Esta carta se relaciona con una evidencia de reclamación que usted radicó en los casos al amparo del
  Título III (los “Casos del Título III”) contra el Estado Libre Asociado de Puerto Rico, la Autoridad
  de Carreteras y Transportación de Puerto Rico, o Autoridad de Energía Eléctrica del gobierno del
  Estado Libre Asociado de Puerto Rico (en conjunto, los “Deudores). Prime Clerk LLC mantiene el
  registro oficial de reclamaciones en los Casos al amparo del Título III para el Tribunal de Distrito de
  los Estados Unidos para el Distrito de Puerto Rico (el “Tribunal”), y se comunica con usted en
  representación de los Deudores.

  Los registros del Deudor reflejan que usted ha radicado una evidencia de reclamación que ha sido
  anotada por Prime Clerk LLC con el número de Evidencia de Reclamación             . Usted puede
  descargar una copia de su reclamación visitando el sitio web de Prime Clerk en: https://
  cases.primeclerk.com/puertorico/Home-ClaimInfo.

  Se requiere información adicional para que los Deudores continúen evaluando su reclamación. Con
  la información que usted ha proporcionado, los Deudores no pueden determinar los fundamentos, la
  naturaleza, o la cantidad de la reclamación que usted pretende formular contra uno o más de
  los Deudores. En respuesta a esta carta, asegúrese de proporcionar toda la información solicitada y
  todo el detalle posible sobre su reclamación. Las descripciones que incluyó en su evidencia de
  reclamación son demasiado imprecisas como para que los Deudores comprendan la reclamación
  que trata de formular; por ese motivo, proporcione más información y no se limite simplemente a
  copiar la misma información.
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  Responda a esta carta el 6 de enero de 2020 o antes, devolviendo el cuestionario adjunto con la
  información y documentación solicitada.

  Envíe el formulario completado y la documentación de apoyo por correo electrónico a
  PRClaimsInfo@primeclerk.com, o por correo, entrega en mano, o servicio de correo postal de 24
  horas a la siguiente dirección:

  Centro de procesamiento de información complementaria del Estado Libre Asociado de Puerto Rico
                                       c/o Prime Clerk LLC
                                    850 3rd Avenue, Suite 412
                                       Brooklyn, NY 11232

  Toda la información complementaria que usted proporcione puede anexarse a su reclamación y
  aparecer en el registro oficial de reclamaciones. Si usted no responde a esta solicitud y no
  proporciona la información y documentación solicitadas para fundamentar su reclamación, los
  Deudores podrán verse en la obligación de objetar a su reclamación.

  Si tiene alguna pregunta acerca de esta carta o su reclamación, llame al Prime Clerk LLC al
  (844) 822-9231 (llamadas sin cargo desde Estados Unidos y Puerto Rico) o (646) 486-7944 (para
  llamadas internacionales), disponible de 10:00 a.m. a 7:00 p.m. (Hora Estándar del Atlántico)
  (español disponible), o dirección de correo electrónico PRClaimsInfo@primeclerk.com.

  NOTA: Prime Clerk, LLC es el agente de reclamaciones y notificaciones en los Casos al amparo del
  Título III y no puede proporcionar asesoramiento legal o financiero.

  Atentamente,

  Prime Clerk, LLC




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                                      Document     Page LLC
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       Centro de procesamiento de información complementaria del Estado Libre Asociado de Puerto
                                                  Rico
                                            rd
SRF 39606                              850 3 Avenue, Suite 412
                                         Brooklyn, NY 11232
                                         Tel.: (844) 822-9231
                                     PRClaimsInfo@primeclerk.com



        INFORMACIÓN SOLICITADA PARA PROCESAR SU RECLAMACIÓN
      Instrucciones
      Responda las seis (6) preguntas y las subpreguntas correspondientes. Incluya la mayor cantidad
      posible de detalle es sus respuestas. Sus preguntas deben proporcionar más información que
      la que se incluye en la evidencia de reclamación inicial. A modo de ejemplo, si usted escribió
      previamente como fundamento de su reclamación «Ley 96», tenga a bien explicar ahora en qué
      leyes específicas pretende basar su reclamación, el año en el que se promulgó la ley en cuestión, y
      cómo y por qué cree que esta ley en particular constituye un fundamento para su reclamación.
      Asimismo, si estuviera disponible y fuera aplicable a su reclamación, adjunte lo siguiente:
              Una copia de cualquier contrato, orden de compra, factura, conocimiento de embarque
               o comprobante de entrega, si su reclamación está basada en una factura impaga;
              Una copia de un escrito, como una demanda o su respuesta, si su reclamación está basada
               en un litigio pendiente;
              Una copia de una sentencia impaga, si se obtuvo en relación con el litigio o un acuerdo
               resolutorio;
              Una copia de cualquier notificación por escrito de su intención de presentar una
               reclamación con constancia de envío por correo;
              Toda documentación que, a su juicio, fundamente su reclamación.

      Envíe el formulario completado y documentos de respaldo por correo electrónico a
      PRClaimsInfo@primeclerk.com, o por correo postal o entrega en mano a la siguiente dirección:
                        Centro de procesamiento de información complementaria del
                                   Estado Libre Asociado de Puerto Rico
                                           c/o Prime Clerk LLC
                                       850 Third Avenue, Suite 412
                                           Brooklyn, NY 11232
      Cuestionario
      1. ¿Cuál es el fundamento de su reclamación?
           □   Una factura impaga que emitió al gobierno de Puerto Rico
           □   Una acción legal pendiente de resolución o concluida con el gobierno de Puerto Rico o
               en contra de este
           □   Empleo actual o anterior en el gobierno de Puerto Rico
           □   Otro (indique el mayor nivel de detalle. Adjunte copias adicionales de ser necesario.)
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  Número de Evidencia de Reclamación:
  Reclamante:

  2. ¿Cuál es el monto de su reclamación (cuánto dinero reclama que se le adeuda):


  3. Factura impaga. ¿Se relaciona su reclamación con una factura impaga que
     usted emitió al gobierno de Puerto Rico?

     □   No. Pase a la pregunta 4.
     □   Sí. Responda preguntas 3(a)-(f).
  3(a). Identifique el organismo o el departamento específico con el cual usted firmó un contrato:



  3(b). Número de proveedor (si aplica):

  3(c). Número de identificación fiscal (si aplica):

  3(d). Si no tiene un número de proveedor o un número de identificación fiscal, anote los últimos
        cuatro dígitos de su número de seguridad social:

  3(e). Número de contrato (si aplica):

  3(f). Número/s de orden de compra (si aplica):

  4. Empleo. ¿Su reclamo se relaciona con un empleo actual o anterior en elgobierno de
     Puerto Rico?
     □   No. Pase a la Pregunta 5.
     □   Sí. Responda preguntas 4(a)-(d).

 4(a). Identifique el organismo o departamento específico en el que trabaja o trabajó:


 4(b). Identifique las fechas de su empleo en relación con su reclamación:


  4(c). Los últimos cuatro dígitos de su número de seguro social:

 4(d). Cuál es la naturaleza de sus reclamaciones de empleo (seleccione todo lo que sea
 aplicable):
         □   Jubilación
         □   Salarios impagos
         □   Días por enfermedad
         □   Queja con el sindicato


                                                   2
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  Número de Evidencia de Reclamación:
  Reclamante:
         □    Vacaciones
         □    Otro (Proporcione el mayor nivel de detalle posible. Adjunte páginas adicionales de
         ser necesario).




  5. Acción legal. ¿Su reclamación se relaciona con una acción judicial ya cerrada
     opendiente de resolución?
     □     No. Pase a la Pregunta 6.
     □     Sí. Responda preguntas 5(a)-(f).

  5(a). Identifique el departamento o agencia que es parte de esta acción.


  5(b). Identifique el nombre y la dirección del tribunal o agencia en el que la acción está
  pendiente de resolución:


  5(c). Número de caso:
  5(d). Título, auto o nombre del caso:
  5(e). Estado del caso (pendiente, en instancia de apelación o concluido):
  5(f). ¿Tiene usted una sentencia impaga? Sí / No (Marque una)
         De ser así, ¿cuál es la fecha y el monto de la sentencia?

  6. Otro. Si su reclamación no se relaciona con una factura impaga, una acción legal
     pendiente o cerrada o un empleo actual o anterior, responda la pregunta 6(a).
  6(a). Describa el fundamento de su reclamación:



     En la medida que posea documentación de respaldo de su reclamación, incluya dichos
     documentos en su respuesta.




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                                    Exhibit B
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Responda a esta carta el 6 de Enero de 2020 o antes, devolviendo el cuestionario adjunto con la información y
documentación solicitada.

Tenga en cuenta que solo necesita devolver un formulario, ya sea en inglés o español.

Si tiene alguna pregunta acerca de esta carta o su reclamación, llame al Prime Clerk LLC al (844) 822-9231
(llamadas sin cargo desde Estados Unidos y Puerto Rico) o (646) 486-7944 (para llamadas internacionales),
disponible de 10:00 a.m. a 7:00 p.m. (Hora Estándar del Atlántico) (español disponible), o dirección de correo
electrónico PRClaimsInfo@primeclerk.com.

Please respond to this letter on or before January 6, 2020 by returning the enclosed questionnaire with the
requested information and documentation.

Note, you only need to return one form, either in English or Spanish.

If you have any questions about this letter or your claim, please call: Prime Clerk LLC at (844) 822-9231 (toll free
for U.S. and Puerto Rico) or (646) 486-7944 (for international callers), available 10:00 a.m. to 7:00 p.m. (Atlantic
Standard Time) (Spanish available), or email PRClaimsInfo@primeclerk.com.
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                                    c/o Prime Clerk
                           Grand Central Station, PO Box 4708
                               New York, NY 10163-4708
                                   T: (844) 822-9231
                            PRClaimsInfo@primeclerk.com

                                    *** Response Required ***


  THIS LETTER RELATES TO A PROOF OF CLAIM YOU FILED AGAINST THE
  GOVERNMENT OF PUERTO RICO IN ITS PROCEEDINGS UNDER THE PUERTO
  RICO OVERSIGHT, MANAGEMENT, AND ECONOMIC STABILITY ACT.

  PLEASE READ THIS LETTER CAREFULLY AND RESPOND IN ACCORDANCE
  WITH THE INSTRUCTIONS BELOW. FAILURE TO RESPOND MAY RESULT IN THE
  DEBTORS TAKING LEGAL ACTION TO FULLY OR PARTIALLY DISALLOW YOUR
  CLAIM.


  December 6, 2019

  Re:     PROMESA Proof of Claim
          In re Commonwealth of Puerto Rico, Case No. 17-03283
          United States District Court for the District of Puerto Rico

  Dear Sir or Madam:

  This letter relates to a proof of claim you filed in the Title III cases (the “Title III Cases”) against the
  Commonwealth of Puerto Rico, Puerto Rico Highways and Transportation Authority, or Employees
  Retirement System of the Government of the Commonwealth of Puerto Rico (collectively, the “Debtors).
  Prime Clerk LLC, maintains the official claims register in the Title III Cases for the United States
  District Court in the District of Puerto Rico (the “Court”), and is reaching out to you on behalf of
  the Debtors.

  The Debtors’ records reflect that you filed a proof of claim that was logged by Prime Clerk LLC
  as Proof of Claim Number             . You may download a copy of your claim by visiting Prime
  Clerk’s website at: https://cases.primeclerk.com/puertorico/Home-ClaimInfo.

  Additional information is required in order for the Debtors to continue with assessing your claim.
  The Debtors are unable to determine from the information you provided the basis, nature, or
  amount for the claim you are attempting to assert against one or more of the Debtors. In responding
  to this letter, please ensure that you provide all of the information requested and as much detail as
  possible about your claim. The descriptions you put on your proof of claim were too vague for the
  Debtors to understand the claim you are trying to assert, so please provide more detail and do not
  simply copy over the same information.

  Please respond to this letter on or before January 6, 2020 by returning the enclosed
  questionnaire with the requested information and documentation.
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  Please send the completed form and any supporting documents via email to
  PRClaimsInfo@primeclerk.com, or by mail, hand delivery, or overnight mail to the following
  address:

   First Class Mail                                Overnight or Hand Delivery

   Commonwealth of Puerto Rico Supplemental        Commonwealth of Puerto Rico Supplemental
   Information Processing Center                   Information Processing Center
   c/o Prime Clerk, LLC                            c/o Prime Clerk LLC
   Grand Central Station, PO Box 4708              850 Third Avenue, Suite 412
   New York, NY 10163-4708                         Brooklyn, NY 11232

  If you do not respond to this request and do not provide the requested information and
  documentation in support of your claim, the Debtors may be forced to object to your claim.

  If you have any questions about this letter or your claim, please call: Prime Clerk LLC at
  (844) 822-9231 (toll free for U.S. and Puerto Rico) or (646) 486-7944 (for international
  callers), available 10:00 a.m. to 7:00 p.m. (Atlantic Standard Time) (Spanish available), or
  email PRClaimsInfo@primeclerk.com.

  PLEASE NOTE: Prime Clerk, LLC is the claims and noticing agent in the Title III Cases, and
  cannot provide legal or financial advice.

  Thank you,

  Prime Clerk, LLC




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 Proof of Claim:           Document Page 21 of 34
 Claimant:


             INFORMATION REQUESTED TO PROCESS YOUR CLAIM

  Instructions
  Please answer all four (4) questions and any applicable sub-questions. Please include as much
  detail as possible in your responses. Your answers should provide more information than the
  initial proof of claim. For example, if you previously wrote as the basis for your claim “Ley 96,”
  please elaborate now on what specific laws you are purporting to rely on, the year the law at issue
  was passed, and how and why you believe this particular law provides a basis for your claim.
  Additionally, if available and applicable to your claim, please provide:
      •      Copy of a pleading, such as a Complaint or an Answer;
      •      Any unpaid judgment or settlement agreement;
      •      Written notice of intent to file a claim with proof of mailing;
      •      Any and all documentation you believe supports your claim.

  Please send the completed form and any supporting documents via email                             to
  PRClaimsInfo@primeclerk.com, or by mail or hand delivery to the following addresseses:

   First Class Mail                                     Hand Delivery

   Commonwealth of Puerto Rico Supplemental             Commonwealth of Puerto Rico Supplemental
   Information Processing Center                        Information Processing Center
   c/o Prime Clerk, LLC                                 c/o Prime Clerk LLC
   Grand Central Station, PO Box 4708                   850 Third Avenue, Suite 412
   New York, NY 10163-4708                              Brooklyn, NY 11232

  Questionnaire

  1. What is the basis of your claim?
         □   A pending or closed legal action with or against the Puerto Rican government
         □   Current or former employment with the Government of Puerto Rico
         □   Other (Provide as much detail as possible below. Attach additional pages if needed.)
             ____________________________________________________________________
 2. What is the amount of your claim (how much money do you claim to be owed):
     ________________________________________________________________________
 3. Employment. Does your claim relate to current or former employment with
    the Government of Puerto Rico?
    □    No. Please continue to Question 4.
     □       Yes. Answer Questions 3(a)-(d).

 3(a). Identify the specific agency or department where you were or are employed:
        ____________________________________________________________________
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  Claimant:

 3(b). Identify the dates of your employment related to your claim:
        ____________________________________________________________________
 3(c). Last four digits of your social security number: ______________________________

 3(d). What is the nature of your employment claims (select all applicable):
         □     Pension
         □     Unpaid Wages
         □     Sick Days
         □     Union Grievance
         □     Vacation
         □     Other (Provide as much detail as possible. Attach additional pages if necessary).
          _____________________________________________________________________
          _____________________________________________________________________
 4. Legal Action. Does your claim relate to a pending or closed legal action?
     □       No.
     □       Yes. Answer Questions 4(a)-(f).

  4(a). Identify the department or agency that is a party to the action.
         _______________________________________________________________________
  4(b). Identify the name and address of the court or agency where the action is pending:
          ________________________________________________________________________
  4(c). Case number: _____________________________________________________________
  4(d). Title, Caption, or Name of Case: _______________________________________________
  4(e). Status of the case (pending, on appeal, or concluded): ______________________________
  4(f). Do you have an unpaid judgment? Yes / No (Circle one)
         If yes, what is the date and amount of the judgment? ________________________________




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                         de procesamiento           Entered:02/10/20
                                           de información            17:55:15
                                                          complementaria                  Desc: Main
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                         del Estado Libre Asociado de Puerto Rico
                            Grand Central Station, PO Box 4708
                                New York, NY 10163-4708
                                   Tel.: (844) 822-9231
                              PRClaimsInfo@primeclerk.com

                                *** Se requiere respuesta ***


  ESTA CARTA SE RELACIONA CON UNA EVIDENCIA DE RECLAMACIÓN QUE
  RADICÓ CONTRA EL GOBIERNO DE PUERTO RICO EN LOS PROCEDIMIENTOS
  AL AMPARO DE LA LEY DE SUPERVISIÓN, ADMINISTRACIÓN Y ESTABILIDAD
  ECONÓMICA DE PUERTO RICO.

  LEA ESTA CARTA CUIDADOSAMENTE Y RESPONDA SEGÚN LAS
  INSTRUCCIONES QUE SE INDICAN A CONTINUACIÓN. SI USTED NO RESPONDE,
  LOS DEUDORES PODRÁN TOMAR MEDIDAS LEGALES PARA QUE SU
  RECLAMACIÓN SEA TOTAL O PARCIALMENTE DESESTIMADA.


  6 de diciembre de 2019

  Asunto:      Evidencia de reclamación en virtud de la ley PROMESA
        En el caso Estado Libre Asociado de Puerto Rico, Caso No. 17-03283
        Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico

  Estimado/a:

  Esta carta se relaciona con una evidencia de reclamación que usted radicó en los casos al amparo
  del Título III (los “Casos del Título III”) contra el Estado Libre Asociado de Puerto Rico, la
  Autoridad de Carreteras y Transportación de Puerto Rico, o Autoridad de Energía Eléctrica del
  gobierno del Estado Libre Asociado de Puerto Rico (en conjunto, los “Deudores). Prime Clerk
  LLC mantiene el registro oficial de reclamaciones en los Casos al amparo del Título III para el
  Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico (el “Tribunal”), y se
  comunica con usted en representación de los Deudores.

  Los registros del Deudor reflejan que usted ha radicado una evidencia de reclamación que ha
  sido anotada por Prime Clerk LLC con el número de Evidencia de Reclamación           . Usted
  puede descargar una copia de su reclamación visitando el sitio web de Prime Clerk en: https://
  cases.primeclerk.com/puertorico/Home-ClaimInfo.

  Se requiere información adicional para que los Deudores continúen evaluando su reclamación.
  Con la información que usted ha proporcionado, los Deudores no pueden determinar los
  fundamentos, la naturaleza, o la cantidad de la reclamación que usted pretende formular contra uno
  o más de los Deudores. En respuesta a esta carta, asegúrese de proporcionar toda la información
  solicitada y todo el detalle posible sobre su reclamación. Las descripciones que incluyó en su
  evidencia de reclamación son demasiado imprecisas como para que los Deudores comprendan la
  reclamación que trata de formular; por ese motivo, proporcione más información y no se limite
  simplemente a copiar la misma información.



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  Responda a esta carta el 6 de enero de 2020 o antes, devolviendo el cuestionario
  adjunto con la información y documentación solicitada.

  Envíe el formulario completado y la documentación de apoyo por correo electrónico a
  PRClaimsInfo@primeclerk.com, o por correo, entrega en mano, o servicio de correo postal de 24
  horas a la siguiente direcciónes:

   Por Correo                                      Entrega en Mano o Service de Correo
                                                   Postal de 24 Horas

   Commonwealth of Puerto Rico Supplemental        Commonwealth of Puerto Rico Supplemental
   Information Processing Center                   Information Processing Center
   c/o Prime Clerk, LLC                            c/o Prime Clerk LLC
   Grand Central Station, PO Box 4708              850 Third Avenue, Suite 412
   New York, NY 10163-4708                         Brooklyn, NY 11232

  Si usted no responde a esta solicitud y no proporciona la información y documentación
  solicitadas para fundamentar su reclamación, los Deudores podrán verse en la obligación de
  objetar a su reclamación.

  Si tiene alguna pregunta acerca de esta carta o su reclamación, llame al Prime Clerk LLC al
  (844) 822-9231 (llamadas sin cargo desde Estados Unidos y Puerto Rico) o (646) 486-7944
  (para llamadas internacionales), disponible de 10:00 a.m. a 7:00 p.m. (Hora Estándar del
  Atlántico)     (español    disponible),     o     dirección     de     correo    electrónico
  PRClaimsInfo@primeclerk.com.

  NOTA: Prime Clerk, LLC es el agente de reclamaciones y notificaciones en los Casos al amparo
  del Título III y no puede proporcionar asesoramiento legal o financiero.

  Atentamente,

  Prime Clerk, LLC




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 Reclamante:


   INFORMACIÓN SOLICITADA PARA PROCESAR SU RECLAMACIÓN

  Instrucciones
  Responda las cuatro (4) preguntas y sub-preguntas aplicables. Incluya el mayor nivel de detalle
  posible en sus respuestas. Sus respuestas deben proporcionar más información de la que se
  incluye en la evidencia de reclamación inicial. A modo de ejemplo, si usted escribió
  previamente como fundamento de su reclamación “Ley 96,” tenga a bien explicar ahora en qué
  leyes específicas pretende basar su reclamación, el año en que se aprobó la ley en cuestión, y cómo
  y por qué cree que esta ley en particular constituye un fundamento para su reclamación.
  Asimismo, si estuviera disponible y fuera aplicable a su reclamación, proporcione:
      •    Copia de un escrito inicial, como por ejemplo una Demanda o Respuesta;
      •    Una sentencia o acuerdo de conciliación sin pagar;
      •    Notificación por escrito de su intención de radicar una reclamación con constancia de
           envío por correo;
      •    Toda documentación que, a su juicio, fundamente su reclamación.

  Envíe el formulario completado y documentos de apoyo por correo electrónico a
  PRClaimsInfo@primeclerk.com, o por correo postal o entrega en mano a la siguiente dirección:

   Por Correo                                       Entrega en Mano o Service de Correo
                                                    Postal de 24 Horas

   Commonwealth of Puerto Rico Supplemental         Commonwealth of Puerto Rico Supplemental
   Information Processing Center                    Information Processing Center
   c/o Prime Clerk, LLC                             c/o Prime Clerk LLC
   Grand Central Station, PO Box 4708               850 Third Avenue, Suite 412
   New York, NY 10163-4708                          Brooklyn, NY 11232

  Cuestionario

  1. ¿Cuál es el fundamento de su reclamación?
       □   Una acción legal pendiente de resolución o concluida con el gobierno de Puerto Rico o
           en contra de este
       □   Empleo actual o anterior en el gobierno de Puerto Rico
       □   Otro (indique con el mayor nivel de detalle. Adjunte páginas adicionales de ser
           necesario.)
           ____________________________________________________________________
 2. ¿Cuál es el monto de su reclamación (cuánto dinero reclama que se le adeuda):
     ________________________________________________________________________
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 3. Empleo. ¿Su reclamo se relaciona con un empleo actual o anterior en el
    gobierno de Puerto Rico?
    □    No. Pase a la Pregunta 4.
     □       Sí. Responda preguntas 3(a)-(d).

 3(a). Identifique el organismo o departamento específico en el que trabaja o trabajó:
        ____________________________________________________________________
 3(b). Identifique las fechas de su empleo con relación a su reclamación:
        ____________________________________________________________________
 3(c). Últimos cuatro dígitos de su número de seguro social: _____________________________

 3(d). Cuál es la naturaleza de sus reclamaciones de empleo (seleccione todo lo que sea
 aplicable):
         □     Jubilación
         □     Salarios impagos
         □     Días por enfermedad
         □     Queja con el sindicato
         □     Vacaciones
         □     Otro (Proporcione el mayor nivel de detalle posible. Adjunte páginas adicionales de
         ser necesario).
          _____________________________________________________________________
          _____________________________________________________________________
  4. Acción legal. ¿Su reclamación se relaciona con una acción judicial ya cerrada o
     pendiente de resolución?
     □       No.
     □       Sí. Responda Preguntas 4(a)-(f).

  4(a). Identifique el departamento o agencia que es parte de esta acción.
         _______________________________________________________________________
  4(b). Identifique el nombre y la dirección del tribunal o agencia donde la acción está pendiente
  de resolución:
         _______________________________________________________________________
  4(c). Número de caso: __________________________________________________________
  4(d). Título, epígrafe, o nombre del caso:
  _______________________________________________



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 Reclamante:

  4(e). Estado del caso (pendiente de resolución, en apelación, o cerrado):
  ______________________________
  4(f). ¿Tiene usted una sentencia impaga? Sí / No (Marque una)
       De ser así, ¿cuál es la fecha y el monto de la sentencia?
       ________________________________




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                                                        Notice Parties Service List
                                                        Served via first class mail

             MMLID                     Name             Address1 Address2 Address3 Address4   City   State   PostalCode
            9213312 Algarin Rodriguez, Nathalia         Redacted
            9213313 Alicea Baez, Luis A                 Redacted
            9213314 Alicea Baez, Luis A.                Redacted
            9213246 Anaya Ortiz, Mayda                  Redacted
            9213315 Arroyo Delgado, Joseph              Redacted
            9213316 Arroyo Gonzalez, Rosa L             Redacted
            9213317 Aviles Casiano, Efrain              Redacted
            9213382 Ayes Santos, John                   Redacted
            9213247 Baez Cuevas , Lillian I.            Redacted
            9213248 Barris Planell, Wilson              Redacted
            9213249 Batiz Serrano, Osvaldo              Redacted
            9213383 Bonilla Lopez, Awilda               Redacted
            9213250 Bonilla Lopez, Awilda               Redacted
            9213251 Bonilla Lopez, Awilda               Redacted
            9213306 Bonilla Rios, Awilda                Redacted
            9213307 Bonilla Rios, Elma                  Redacted
            9213384 Burgos Marin, Mildred M.            Redacted
            9213385 CAMACHO VELEZ, ARNALDO              Redacted
            9213386 Camero, Olga                        Redacted
            9213387 Carmero Ramirez, Olga               Redacted
            9213308 Collazo Vazquez , Carmen I          Redacted
            9213309 Cosme Thillet, Maria J.             Redacted
            9213310 COSME THILLET, MARIA J.             Redacted
            9213376 CRESPO SANTOS, ANGEL LUIS           Redacted
            9213311 Cruz Figueroa, Delia                Redacted
            9213377 Cruz Guadalupe, Luz M.              Redacted
            9213378 Cruz Palmer, Melvin J.              Redacted
            9213379 de Courceuil Perez, Yvonne          Redacted
            9213380 De Jesus De Jesus, Ana Maria        Redacted
            9213300 DEL ROSARIO OLIVERA RIVERA, MARIA   Redacted
            9213301 Delgadillo Bonifacio, Ignacia M.    Redacted
            9213381 Diaz Diaz, Orlando R.               Redacted

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             MMLID                      Name          Address1 Address2 Address3 Address4   City   State   PostalCode
            9213242 DIAZ ILARRAZA, ANA                Redacted
            9213302 Diaz Lopez, Marta Rosa            Redacted
            9213303 Diaz Marrero, Eneida              Redacted
            9213370 Dominguez Rosa, David             Redacted
            9213371 Echevarria Santiago, Rosa E.      Redacted
            9213372 ESCOBAR CASTRO, EBDIEL            Redacted
            9213304 Espinosa Corales, Rosa            Redacted
            9213373 Estevez Gutierrez, Evelyn         Redacted
            9213374 Estrella Cerezo, Javier           Redacted
            9213375 Estremera Soto, Antonio           Redacted
            9213305 Feliciano Figueroa, Edgardo       Redacted
            9213364 Feliciano Perez, Mirta C.         Redacted
            9213365 Fernandez Gonzalez, Joe E.        Redacted
            9213366 Figueroa Perez, Javier            Redacted
            9213294 Flores Santiago, Hector I.        Redacted
            9213295 Flores Santiago, Hector I.        Redacted
            9213367 Garcia Cortes, Aida               Redacted
            9213296 Georgi Rodriguez, Haydee          Redacted
            9213297 Georgi Rodriguez, Haydee          Redacted
            9213368 Gomez Lugo, Eladio                Redacted
            9213369 Gonzalez Molina, Nancy I.         Redacted
            9213358 Gonzalez Oyola, Juanita           Redacted
            9213359 Guzman Rodriguez , Joselin M.     Redacted
            9213360 Hernandez Lamberty, Jose L.       Redacted
            9213361 Irizarry Irizarry, Hector         Redacted
            9213362 Irizarry Irizarry, Hector         Redacted
            9213363 IRIZARRY NIEVES, ELLIOTT          Redacted
            9213352 JIMENEZ HUERTAS, RIGOBERTO        Redacted
            9213353 JIMENEZ PEREZ, SONIA N.           Redacted
            9213298 Lebron Fernandez, Evelyn          Redacted
            9213299 Lopez Alvarado, Ramon A.          Redacted
            9213288 Lopez Alvarado, Ramon A.          Redacted

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             MMLID                    Name              Address1 Address2 Address3 Address4   City   State   PostalCode
            9213289 Lopez de Jesus, Ivan                Redacted
            9213290 Lopez Martinez, Olga                Redacted
            9213354 LUCIANO NUNEZ, DAVID H              Redacted
            9213355 LUCIANO NUNEZ, DAVID H              Redacted
            9213291 Lugo Feliciano, Elvin               Redacted
            9213356 Malave Santiago, Maria L.           Redacted
            9213292 Maldonado Torres, Sonia             Redacted
            9213293 Maria del Rosario, Olivera Rivera   Redacted
            9213282 Martínez Hernández, Awilda          Redacted
            9213243 Martinez Morri, Noelia              Redacted
            9213357 Medina Torres, Edith M              Redacted
            9213346 Molina Rodriguez, Luis Alberto      Redacted
            9213283 Monsanto Lozada, Valoisa            Redacted
            9213347 Montalvo Padilla, Olga I.           Redacted
            9213284 Morales Cabrera, Cesar              Redacted
            9213285 Morales Cabrera, Cesar              Redacted
            9213286 Negron Acevedo, Elba I.             Redacted
            9213348 Nieves Curbelo, Miguel A.           Redacted
            9213349 Olivera Rivera, Maria del Rosario   Redacted
            9213350 Olivera Rivera, Maria del Rosario   Redacted
            9213287 Olivera Rivera, Maria Del Rosario   Redacted
            9213276 Pagan Salgado, Olga E.              Redacted
            9213351 Perez Figueroa, Vidalina            Redacted
            9213340 Pina Madera, Luz I.                 Redacted
            9213277 Quinones Caraballo, Madeline        Redacted
            9213341 Ramirez Rivera, Wilfredo            Redacted
            9213278 Reyes Ortega, Angel J.              Redacted
            9213279 Rivera Baerga, Nilda                Redacted
            9213342 Rivera Baerga, Nilda                Redacted
            9213343 Rivera Cintron, Gisel Enid          Redacted
            9213244 Rivera Dominguez, Elizabeth         Redacted
            9213280 Rivera Jebres, William              Redacted

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                                                       Notice Parties Service List
                                                       Served via first class mail

             MMLID                     Name            Address1 Address2 Address3 Address4   City   State   PostalCode
            9213281 Rivera Lugo, Lesbia                Redacted
            9213344 Rivera Massini, Soraya             Redacted
            9213345 Rivera Olmeda, Teodoro             Redacted
            9213334 Rivera Olmeda, Teodoro             Redacted
            9213335 Rivera Ortiz, Jorge J              Redacted
            9213270 Rivera Rodriguez, Elba             Redacted
            9213336 Rivera Vargas, Melvin Israel       Redacted
            9213337 Rivera Vargas, Melvin Israel       Redacted
            9213271 Rodriguez Aponte, Liduvina         Redacted
            9213338 Rodriguez Baez, Maria M.           Redacted
            9213339 Rodriguez Colon, Eduardo           Redacted
            9213272 Rodriguez Colon, Eduardo           Redacted
            9213273 Rodriguez Colon, Eduardo           Redacted
            9213274 Rodriguez Colon, Eduardo           Redacted
            9213328 Rodriguez Matos, Marysol           Redacted
            9213329 Rodriguez Rodriguez, Carlos W.     Redacted
            9213275 Rodriguez, Sarah Crescioni         Redacted
            9213330 Rolon Rodriguez, Miriam B          Redacted
            9213331 Rosado Sanchez, Waldemar           Redacted
            9213264 Ruiz Seda, Xenia                   Redacted
            9213265 Sanchez Monzon, Grace              Redacted
            9213332 SANCHEZ RAMOS, MANUEL              Redacted
            9213266 Sanchez Vega, Santa                Redacted
            9213333 Santana Silva, Luis                Redacted
            9213322 Santiago Ruiza , Maria De Los A.   Redacted
            9213267 Santiago Torres, Doel              Redacted
            9213323 SERRANO CABASSA, JAMIE             Redacted
            9213245 Soto Castro, Carmen N              Redacted
            9213324 TORRES BRUNET, VILMA I.            Redacted
            9213325 Torres Morell, Zulma I.            Redacted
            9213268 Torres Porrata, Edga M             Redacted
            9213269 Torres Porrata, Edga M.            Redacted

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                                                      Notice Parties Service List
                                                      Served via first class mail

             MMLID                    Name            Address1 Address2 Address3 Address4   City   State   PostalCode
            9213258 Torres Porrata, Edga M.           Redacted
            9213259 Torres Porrata, Edga M.           Redacted
            9213260 Torres Porrata, Edga M.           Redacted
            9213261 Torres Rivera, Margarita          Redacted
            9213262 Tristani Rodriguez, Marilyn       Redacted
            9213263 Trujillo Rosado, Carmen E.        Redacted
            9213326 Uribe Perez, Stefanie             Redacted
            9213327 Valles Serrano, Victor Manuel     Redacted
            9213252 Vázquez Martínez, Vikeyla         Redacted
            9213253 Vega Sosa, Haydee                 Redacted
            9213254 Vega Sosa, Haydee                 Redacted
            9213255 Velazquez Acosta, Mariel          Redacted
            9213318 Velazquez Moreno, Lida            Redacted
            9213319 Velez Justiniano, Maria E.        Redacted
            9213320 Verges Gonzalez, Jorge A          Redacted
            9213321 Villanueva Felix, Wilma I         Redacted
            9213256 VILLANUEVA FELIX, WILMA I.        Redacted
            9213257 Zayas Cintron, Grissel            Redacted




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